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TRICT
TRICT
IN THE UNITED STATES DISTRICT COUR LED
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION |

 

    
      
 

  

UNITED STATES OF AMERICA

 

 

 

“RK UST DISTRICT 5 us

v. No. iT iy
JOHN PAUL DOMINIC GUIA (1) 3
CEDRIC SMITH (2) @ 1 ~
JOSEPH JACKSON (3) 9CR-633-y
BRIANNA SMITH (4)

INDICTMENT
The Grand Jury charges:

Count One

Conspiracy to Possess With the Intent to Distribute a Controlled Substance
(Violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B))

Beginning in or about April 2019, and continuing until on or about June 25, 2019,
in the Dallas Division of the Northern District of Texas, defendants John Paul Dominic
Guia, Cedric Smith, Joseph Jackson, and Brianna Smith, did knowingly and
intentionally combine, conspire, confederate, and agree with others both known and
unknown to the Grand Jury to commit the following offense against the United States: to
possess with the intent to distribute 28 grams or more of a mixture or substance
containing a detectable amount of cocaine base, a Schedule II controlled substance, in
violation of 21 U.S.C. § 841(a)(1) and (b)(1)(B).

All in violation of 21 U.S.C. § 846.

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Count Two
Possession of a Firearm in Furtherance of Drug Trafficking Crime
and Aiding and Abetting
(Violation of 18 U.S.C. §§ 924(c)(1)(A), and 2)

On or about June 25, 2019, in the Dallas Division of the Northern District of
Texas, defendants, John Paul Dominic Guia, Cedric Smith, Joseph Jackson, and
others known and unknown, aiding and abetting one another, did knowingly and
intentionally possess firearms in furtherance of a drug trafficking crime for which the
defendants may be prosecuted in a court of the United States, namely, conspiracy to

possess with the intent to distribute cocaine base, as charged in Count One.

In violation of 18 U.S.C. § 924(c)(1)(A), and 2.

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Count Three
Possession of a Firearm by a Convicted Felon
(Violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2))

On or about June 25, 2019, in the Dallas Division of the Northern District of
Texas, the defendant, John Paul Dominic Guia, knowing that he had been convicted of
a crime punishable by imprisonment for a term exceeding one year, did knowingly
possess in and affecting interstate and foreign commerce a firearm, to wit: a Glock 22,
.40 caliber handgun; SN/RK W578; a 9mm Taurus, semi-automatic pistol,
SN/TKZ53718; and a Kel-Tec .380 caliber handgun; SN/K6587.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

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Forfeiture Notice
(21 U.S.C. § 853(a) and 881(a); 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

Upon conviction of any offense alleged in Count One, Two, or Three of this
indictment and pursuant to 21 U.S.C. §§ 853(a) and 881(a), 18 U.S.C. § 924(d) and 28
U.S.C. § 2461(c), the defendants, John Paul Dominic Guia, Cedric Smith, Joseph
Jackson, and Brianna Smith, shall forfeit to the United States all property, real or
personal, constituting, or derived from, the proceeds obtained, directly or indirectly, as a
result of the offense; and any property, real or personal, used, or intended to be used, in
any manner or part, to commit, or to facilitate the commission of the respective offense.

The above-referenced property includes, but is not limited to, the following:

(1) Glock 22, .40 caliber handgun; SN/RK W578;
(2) Kel-Tec .380 caliber handgun; SN/K6587;
(3) Taurus .9mm caliber handgun; SN/TK05 1998;

(4) Any magazines recovered with the above-mentioned firearms;

 

(5) Any ammunition recovered with the above-mentioned firearms or at 7452
Chesterfield Drive #C, Dallas, Texas, on June 25, 2019;

(6) Pro Mag extended/high capacity magazine seized on June 25, 2019;

(7) Armor Express ballistic vest seized on June 25, 2019;

(8) Armor Express ballistic plate carrier, black in color seized on June 25, 2019;
and

(9) $4,098 in United States currency seized on June 25, 2019;

If any of the property described above, as a result of any act or omission of the
defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

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c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or
€. has been commingled with other property which cannot be divided without
difficulty,

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek
forfeiture of any other property of the said defendant up to the value of the forfeitable

property described above.

TRUE BILL

 

FOREPERSONY

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

JOHN PAUL DOMINIC GUIA (1)
CEDRIC SMITH (2)
JOSEPH JACKSON (3)
BRIANNA SMITH (4)

 

INDICTMENT —

21 U.S.C. § 846, 841(a)(1) and (b)(1)(B)
Conspiracy to Possess with the Intent to Distribute a Controlled Substance
(Count 1)

18 U.S.C. §§ 924(c)(1)(A) and 2
Possession of a Firearm in Furtherance of a Drug Trafficking Crime
and Aiding and Abetting
(Count 2)

18 U.S.C. §§ 922(g)(1) and 924(a)(2)
Possession of a Firearm by a Convicted Felon

(Count 3)

21 U.S.C. § 853(a) and 881(a); 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)
Forfeiture Notice

3 Counts

 

A true bill rendered

 

 

DALLAS

Filed in open court this Z day of December, 2019.

 
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Warrant to be Issued LZ.
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